      Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 1 of 18




                              UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
LIABILITY LITIGATION                              Case No. 16-md-02741-VC


This document relates to:                         PRETRIAL ORDER NO. 12, EXHIBIT 1

ALL ACTIONS




                           EXHIBIT 1 TO
    ORDER ESTABLISHING A COMMON BENEFIT FUND TO COMPENSATE AND
      REIMBURSE ATTORNEYS FOR COSTS AND EXPENSES INCURRED AND
   SERVICES PERFORMED FOR MDL ADMINISTRATION AND COMMON BENEFIT

       Below are guidelines regarding the submission and compensability of common benefit

time and expenses. The recovery of common benefit attorneys' fees and cost reimbursements

will be limited to "Participating Counsel" as defined in the Order Establishing a Common

Benefit Fund to Compensate and Reimburse Attorneys for Costs and Expenses Incurred and

Services Performed for MDL Administration and Common Benefit ("Order"). Eligible Counsel

shall only be eligible to receive common benefit attorneys' fees and cost reimbursement if the

time expended, costs incurred and activity in question were: (a) for the common benefit; (b) at

the direction of and appropriately authorized by a Co-Lead or the Executive Committee in

accordance with the Court's Order regarding common benefit; (c) timely submitted; and

(d) approved by this Court.

                                              4
      Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 2 of 18



       Eligible Counsel who seek to recover Court-awarded common benefit attorneys' fees and

expenses in connection with this litigation, should the litigation result in any monetary

award from which common benefit fees and expenses can be awarded, shall keep a daily

contemporaneous record of their time and expenses, noting with specificity the amount of time,

location (if relevant), and particular activity along with confirmation that authority was obtained

to have undertaken that common benefit effort. Such counsel shall, by the 15th day of each

month, submit a report of their time and expense records as noted above for the preceding

monthly period in the attached format (see Exhibit "A").         For example, February 15 of a

particular year is the deadline to submit common benefit time and expenses for January of that

year. The first submission deadline is March 15, 2017, and that submission shall include all

common benefit time and expenses incurred prior to February 28, 2017. Following that initial

submission, the deadline will remain the 15th day of each month. The submission shall be

timely e-mailed each month to: RoundupCBSubmission@AndrusWagstaff.com.

        At an appropriate time, the Executive Committee may decide to hire an independent third

 party neutral to assist in the auditing of the common benefit submissions, if necessary. Such

 expense, if incurred, to be paid by the MDL Leadership.

        The failure to secure prior authority to incur common benefit time and expenses, or

 maintain and timely provide such records or to provide a sufficient description of the

 activity will be grounds for denying the recovery of attorneys' fees or expenses in whole or in

 part. It is the sole responsibility of the Eligible Counsel submitting time to comply with these

 guidelines.

        EXPENSE LIMITATIONS

    A. Travel Held Expense Limitations

        Only reasonable expenses will be reimbursed for travel related to common benefit
                                                4
     Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 3 of 18



matters performed at the direction of and authorized by a Co-Lead or the Executive Committee.

Except in extraordinary circumstances approved by a Co-Lead Counsel or the Executive

Committee, all travel reimbursements are subject to the following limitations:

    i.    Airfare. Ordinarily only the price of a coach seat for a reasonable itinerary will be

          reimbursed. Business/First Class Airfare will not be fully reimbursed, except for

          international flights or cross-country flights, which requires prior written approval by a

          Co-Lead Counsel or the Executive Committee. In the event non-coach air travel is

          utilized, the attorney shall be reimbursed only to the extent of the full coach fare if

          the full coach fare for that flight is contemporaneously documented. If non-coach,

          private or charter travel is elected, the applicant is required to submit what the

          full coach fare in effect at that time was, and that is all that can be reimbursed.

    ii.   Hotel. Hotel room charges for the average available room rate of a business hotel,

          including the Hyatt, Hilton, Intercontinental Sheraton, Westin, and Marriot hotels,

          in the city in which the stay occurred will be reimbursed. Luxury hotels will not be

          fully reimbursed but will be reimbursed at the average available rate of a business

          hotel.

   iii.   Meals. Meal expenses must be reasonable and receipts must identify the

          individual(s) for whom the meal reimbursement is requested.

    iv.   Cash Expenses. Miscellaneous cash expenses for which receipts generally are not

          available (tips, luggage handling, etc.) will be reimbursed up to $30.00 per trip, as

          long as the expenses are properly itemized.

    v.    Rental Automobiles. Luxury automobile rentals will not be fully reimbursed,

          unless only luxury automobiles were available. If luxury automobiles are selected

          when non-luxury vehicles are available, then the difference between the luxury
                                               4
     Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 4 of 18



           and non-luxury vehicle rates must be shown on the travel reimbursement form,

           and only the non-luxury rate may be claimed, unless such larger sized vehicle is

           needed to accommodate several counsel.

    vi.    Mileage. Mileage claims must be documented by stating origination point,

           destination, total actual miles for each trip, reason for the trip, and the rate will be the

           maximum rate allowed by the IRS.

B. Non-Travel Held Expense Limitations

     i.    Shipping, Overnight, Courier, and Delivery Charges. All claimed common benefit

           shipping, overnight, courier or delivery expenses must be documented with bills

           showing the sender, origin of the package, recipient, and destination of the package.

           Such charges are to be reported at actual cost.

     ii.   Postage Charges. A contemporaneous postage log or other supporting documentation

           along with reference to the common benefit purpose must be maintained and

           submitted for common benefit postage charges. Such charges are to be reported at

           actual cost.

     iii. Telefax Charges. Contemporaneous record should be maintained and submitted

           showing faxes sent and received for common benefit matters. The per-fax charge is

           shall not exceed 50¢ per page.

     iv. In-House Photocopy. A contemporaneous photocopy log or other supporting

           documentation must be maintained and submitted. The maximum copy charge is 15¢

           per page.

     v.    Computerized Research – Lexis/Westlaw. Claims for Lexis or Westlaw, and other




                                                 4
      Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 5 of 18



           computerized legal research expenses should be in the exact amount charged the firm

           and appropriately allocated for these research services. It is preferred that each firm

           track contemporaneously its computerized research work and charges in a manner that

           will identify the common benefit work, project, brief, and/or assignment associated

           with that computerized research work to any independent reviewer. Such work and

           expenses much be at the direction of and authorized by Co-Lead Counsel.

   C. Common Shared Expenses

      Common shared expenses including expenses paid to third party vendors, experts and

consultants and other such expenses may not be reimbursed unless they have been incurred at

the direction of, and authorized by Co-Lead Counsel or the Executive Committee. The

Executive Committee, at their discretion, may maintain a separate cost assessment fund for

payment and reimbursement of such expenses, and may prepare separate guidelines and

processes for incurring and paying costs from such fund at their discretion.

   D. Verification

       The forms detailing time and expenses shall be certified by a Partner of each Eligible

Counsel's law firm attesting to the accuracy of the submissions. Attorneys shall keep receipts

for all expenses. Credit card receipts are an appropriate form of verification so long as

accompanied by an appropriate description and a declaration under oath from counsel that work

was performed and paid for the common benefit.            Monthly credit card statements are

appropriate if they provide sufficient itemized detail to comply with these guidelines and

the Court's Order. Hotel costs must be proven with the full hotel invoice. The description

of unclaimed expenses on the invoice may be redacted.




                                               5
      Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 6 of 18




        COMMON BENEFIT WORK

   A. Authorization for Compensable Common Benefit Work

        Authorized Common Benefit Work must be at the direction of and authorized by a

Co-Lead counsel or the Executive Committee. Unless specifically and explicitly authorized in

writing, no time spent on developing or processing individual issues in any case for an

individual client (plaintiff or claimant) will be considered or should be submitted, nor will

time spent on any unauthorized work.

        Examples of authorized work that generally would be authorized by a Co-Lead

Counsel or the Executive Committee and examples of what would be considered unauthorized

work include but are not limited to:

      i.   Depositions. If not designated as one of the authorized questioners or otherwise

           authorized to attend the deposition by a Co-Lead Counsel or the Executive

           Committee, your time and expenses shall not be considered common benefit work.

     ii.   Periodic General MDL Leadership Conference Calls. These calls may be held from

           time to time so that individual attorneys are kept up-to-date on the status of the

           litigation, and participation by merely listening to such calls is not common

           benefit work. Each attorney has an obligation to keep themselves informed about

           the litigation so that they can best represent their clients, and that is a reason to

           listen in on those calls. On the other hand, if you lead, or participate in the call by

           designation of a Co-Lead Counsel or the Executive Committee, then you are

           working for the common benefit consistent with your leadership responsibilities by

           keeping other lawyers and pro se plaintiffs informed and educated about the

           litigation, and therefore your time will be considered for common benefit.


                                                 6
  Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 7 of 18




iii.   Periodic Status Conferences. Regular status conferences are held so that the litigation

       continues to move forward and legal issues are resolved with the Court.

       Individual attorneys are free to attend any status conference held in open court in

       order to keep up-to-date on the status of the litigation and participation, but

       attending and listening to such conferences is not common benefit work in and of

       itself. Each attorney has an obligation to keep themselves informed about the

       litigation so that they can best represent their clients. Mere attendance at a status

       conference will not be considered a common benefit expense or common benefit

       time. The attorneys designated by Co-Lead Counsel or the Executive Committee to

       address issues that will be raised at a given status conference or requested by Co-

       lead Counsel or the Executive Committee to be present at a status conference are

       working for the common benefit and their time will be considered for common

       benefit. Similarly, any attorney whose attendance at a status conference is specifically

       requested by the Judge for a matter of common benefit, in that case, may submit their

       time for evaluation as to whether such time shall be considered common benefit time.

iv.    Committee Meetings or Calls. During committee phone calls or other meetings

       there is a presumption that no more than two participants per firm will qualify for

       common benefit time, unless otherwise authorized by Co-Lead Counsel or the

       Executive Committee.

 v.    Identification and Work Up of Experts. Eligible Counsel are encouraged to identify

       experts in consultation with Expert Committee as determined by the Executive

       Committee. If Eligible Counsel travels to and retains an expert without the

       knowledge and approval of the Expert Committee, they understand that their



                                            7
  Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 8 of 18



       time and expenses may not be eligible for common benefit expenses/work.

vi.    Attendance at Seminars. Attendance at seminars (i.e. AAJ Section Meetings,

       Mass Tort Made Perfect, Harris Martin and similar seminars and CLE) does not

       qualify as common benefit work or a common benefit expense unless making

       presentations   authorized    by   Co-Lead Counsel or the Executive Committee.

       Although time spent attending PSC meetings at such seminars may be

       compensable, travel time and costs to and from seminars are not compensable

       unless separately approved by Co-Lead Counsel or the Executive Committee.

vii.   Document Review. Only document review specifically authorized by Co-

       Lead Counsel or the Executive Committee or a representative thereof and assigned

       to an attorney will be considered common benefit work. If an attorney elects to

       review documents that have not been assigned to that attorney by

       Co-Lead Counsel or the Executive Committee, that review is not considered

       common benefit. Contract employees may not be utilized for common benefit

       document review without prior written consent of Co-Lead Counsel or the Executive

       Committee. Descriptions associated with "document review" must contain

       sufficient detail to allow those reviewing the time entry to generally ascertain

       what was reviewed. For example, indicating the custodian, search query subject

       matters or number of document folders reviewed is the kind of description

       needed. If the document vendor retained for the case provides any

       report to Eligible Counsel about the time and/or substance of the document review

       work done, Eligible Counsel should bring any discrepancy to the attention of t h e




                                           8
   Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 9 of 18



        Executive Committee or its designee within thirty days of receipt of such

        report. Failure to timely bring any claimed discrepancy to the attention will result

        in the compensable document review time being presumptively deemed that which

        was provided by the vendor.

viii.   Review of Pleadings and Orders. Each attorney has an obligation to keep themselves

        informed about the litigation so that they can best represent their clients, and review

        of pleadings and orders is part of that obligation. Only those attorneys designated

        by Co-Lead Counsel or the Executive Committee to review or summarize those

        pleadings or orders for the MDL are working for the common benefit and their

        time will be considered for common benefit. All other counsel are reviewing those

        pleadings and orders for their own benefit and the benefit of their own clients, and

        the review is not considered common benefit.

 ix.    Emails. Time recorded for reviewing emails, and providing non-substantive

        responses, generally is not compensable unless germane to a specific task being

        performed by the receiving or sending attorney or party that is directly related to

        that email. Thus, for example, review of an email sent to dozens of attorneys to

        keep them informed on a matter on which they are not specifically working would

        not be compensable. Each attorney has an obligation to keep themselves informed

        about the litigation so that they can best represent their clients and that is a reason

        to review emails to a larger group which involves a matter on which the recipient

        is not directly and immediately working.

   x.   Review of Discovery Responses. Each attorney has an obligation to keep

        themselves informed about the litigation so that they can best represent their


                                             9
     Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 10 of 18




           clients and that is a reason to review discovery responses served in this litigation.

           Only those attorneys designated by Co-Lead Counsel or the Executive Committee

           to review and summarize those discovery responses for the MDL are working

           for the common benefit and their time will be considered for common benefit. All

           other counsel are reviewing those discovery responses for their own benefit and

           the benefit of their own clients, and the review is not considered common benefit.

     xi.   Other Jurisdictions. Time spent on litigating Roundup® cases and coordination in

           other jurisdictions other than MDL 2741 will not be compensated unless

           specifically authorized in writing by Co-Lead Counsel or the Executive Committee.

    xii.   Bellwether Trials. While the work-up of individual cases is not considered

           common benefit, in the event that a case is selected as part of bellwether trial

           process in the MDL or participating state court proceedings, the          time   and

           expenses in trying the case (including work authorized by Co-Lead Counsel

           or the Executive Committee as part of the approved bellwether process) may be

           considered    for common benefit to the extent it complies with the other

           provisions of this Order and these guidelines. In the event Plaintiffs' Counsel are

           unsure if the action they are about to undertake is considered a common benefit

           action, counsel shall ask Co-Lead Counsel or the Executive Committee in writing

           in advance as to whether such time may be compensable.

   B. Time Keeping and Submission of Time Records

       All time must be authorized and accurately and contemporaneously maintained. Time

shall be kept according to these guidelines as noted herein using the forms attached as
     Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 11 of 18




Exhibit A. Time submission is limited to attorneys and paralegals who are employees of

the law firm submitting time; no submission of time or costs for independent contractors or

outside clerical or technical support without prior written approval by Co-Lead Counsel or the

Executive Committee. Eligible Counsel shall keep a daily record of their time spent in

connection with common benefit work on this litigation, indicating with specificity the hours,

location (if relevant) and particular activity (such as "conducted deposition of John Doe").

Time entries that are not sufficiently detailed may not be considered for common benefit

payments. All common benefit work time for each firm shall be maintained in a tenth-of-an-

hour increment.




                                             11
                                                       Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 12 of 18



                                                     Exhibit A
                          MDL 2741: In Re Roundup Litigation‐ Common Benefit Time Report

       Firm Name:
  Reporting Period:
      Certified By:
   Date Submitted:

                                                                                                                                                                                                        Work Assigned By or
                                                                                                                                                              Task Code             Hours By 0.1
       Date                            Detailed Description of Work Performed                         Professional's Name        Professional Level                                                        Approved By
                                                                                                                                                                                     Increment




                      INSERT ROWS ONLY ABOVE THIS LINE                                                                                                                                         0.00

On behalf of myself, my law firm and any of our attorneys and staff submitting common benefit time and expenses, we hereby certify that we have read and agree to be bound by the terms and conditions contained in Case
Management Order No. XXX re Common Benefit., and acknowledge and agree that the Court will have final, non‐appealable authority regarding the award of fees, the allocation of those fees and awards for cost
reimbursements, as well as any other matter addressed in said case management order, and expressly waive any right to appeal the Court’s decisions regarding these issues.

Signature: ______________________________________________                                         Date: _____________

                                                                                                                               Professional Level     Task Codes                                      Co‐Lead Counsel for Approval
                                                                                                                               Senior Partner         110 Fact                                        AW
                                                                                                                               (attorney over 10      Investigation/Development
                                                                                                                               years)
                                                                                                                               Junior Partner         130 Experts/Consultants                         RG
                                                                                                                               (attorney under 10
                                                                                                                               years)
                                                                                                                               Senior Associate       140 Document/File                               MM
                                                                                                                               (attorney over 10      Management
                                                                                                                               years)
                                                                                                                               Junior Associate       150 Accounting
                                                                                                                               (attorney under 10
                                                                                                                               years)
Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 13 of 18



                             Law Clerk      190 Other Case
                                            Assessment, Development
                                            and Administration

                             Paralegal      195 Travel
                             Investigator   210 Pleadings
                             Assistant      220 Preliminary
                                            Injunctions/Provisional
                                            Remedies
                                            230 Court Mandated
                                            Conferences
                                            240 Dispositive Motions
                                            250 Other Written
                                            Motions/Submissions
                                            260 Class Action
                                            Certification and Notice
                                            310 Written Discovery
                                            320 Document Production

                                            330 Depositions
                                            340 Expert Discovery
                                            350 Discovery Motions
                                            360 Document Review
                                            390 Other Discovery
                                            405 Bellwether
                                            410 Fact Witnesses
                                            420 Expert Witnesses
                                            430 Written Motions/Submissions
                                            440 Other Trial Preparation
                                            and Support
                                            445 Trial Communications
                                            with Opposing Counsel

                                            450 Trial and Hearing
                                            Attendance
                                            460 Post‐Trial Motions and
                                            Submissions
                                            470 Enforcement
                                            475 Appeal
                                            485 Appellate Motions and
                                            Submissions
                                            495 Appellate Briefs
                                            498 Oral Argument at
                                            Litigation Proceedings and
                                            Trials
                                            510 Analysis/Strategy
                                            520 Communicating with
                                            Opposing Counsel
                                            610 Settlement/Non‐
                                            Binding ADR
                                       Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 14 of 18



                                                                                 Exhibit A
                                                                        MDL 2741: Roundup Litigation
                                                                           Held Expense Report

                                                         Firm Name:
                                                    Reporting Period:
                                                        Certified By:
                                                     Date Submitted:




                                Date                                               Name                Description/Explanation   Assessments




TOTAL EXPENSES                                                                                                                                 $0.00



*Please attach documentation for each expense reported.
                                     Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 15 of 18




                                                                                             Professional            Travel: Air
                                                                                             Fees                    Transportat
                                                                                             (expert,                ion, Ground
                                                                                 Postage/Ex investigator             Travel,
                     Internal                 Court                              press       ,                       Meals,                   Miscellaneo
                     Reproducti Court Fees Reporters/T Computer       Telephone/ Delivery/Me accountant, Witness/Ser Lodging,    Clerical     us
Commercial Copies    on/Copies (filing, etc.) ranscripts Research     Fax/Email ssenger      etc.)        vice Fees  etc.        Overtime     (Describe) Current Total




             $0.00         $0.00      $0.00       $0.00       $0.00         $0.00      $0.00       $0.00       $0.00       $0.00      $0.00         $0.00    $0.00
                                              Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 16 of 18



                                                                                   Exhibit A
                                                                    Case Cost Management System Task Codes
           Category             Code                                                                                            Description
1. Case Administration and             110 Fact Investigation/Development            All actions to investigate and understand the facts of a matter. Covers interviews of potential
Monitoring: Administration                                                           common benefit witnesses, potential class representatives, or potential “bellwether” or “test
tasks of the case, as well as                                                        case” plaintiffs, review of documents to learn the facts of the case (but not for document
monitoring emails and motions                                                        production, Task Code 320), work with an investigator, and all related communications and
filed.                                                                               correspondence.

                                       130 Experts/Consultants                       Identifying and interviewing common benefit experts and consultants (testifying or non‐
                                                                                     testifying), working with them, and developing expert reports. Does not include preparing for
                                                                                     expert depositions (Task Code 340) or trial (Task Code 420).

                                       140 Document/File Management                  A narrowly defined task that comprises only the processes of creating and
                                                                                     populating document and other databases or filing systems. Includes the planning, design, and
                                                                                     overall management of this process. Work of outside vendors in building common benefit
                                                                                     litigation support databases should be a Shared Expense.

                                       150 Accounting                                Covers analyzing, reviewing, and corresponding regarding accounting maintained by Skorheim &
                                                                                     Associates, AAC and related issues.

                                       190 Other Case Assessment, Development and Presentation of common issues to other JCCP counsel at the direction of Co‐Lead and Co‐Liaison
                                           Administration                         Counsel. Includes time not attributable to any other overall task. Specific use in a given matter
                                                                                  often may be pre‐determined jointly by Co‐Liaison or Lead Counsel or the Court.

                                       195 Travel                                    Travel time for attendance at depositions, hearings, status conferences or other proceedings
                                                                                     where such attendance is approved by Co‐Liaison or Co‐Lead Counsel for presentation of issues
                                                                                     related to common benefit. Travel to seminars is non‐compensable unless approved by PLCL.
                                                                                     Travel not approved by the PLCL does not constitute common benefit. If other work in this
                                                                                     litigation is being completed during travel time, then the time spent on the other work should be
                                                                                     classified appropriately for that work.
2. Pre‐Trial Pleadings and             210 Pleadings                                 Developing (researching, drafting, editing, filing) and reviewing complaints, answers, counter‐
Motions: Covers all pleadings                                                        claims and third party complaints. Also embraces orders, and motions directed at pleadings such
and all pretrial motions and                                                         as motions to dismiss, motions to strike, and jurisdictional motions.
procedures other than                  220 Preliminary Injunctions/Provisional       Developing and discussing strategy for these remedies, preparing motions, affidavits and briefs,
discovery.                                 Remedies                                  reviewing opponent's papers, preparing for and attending court hearing, preparing witnesses for
                                                                                     the hearing, and effectuating the remedy.
                                       230 Court Mandated Conferences                Preparing for and attending hearings and conferences required by court order or procedural
                                                                                     rules (including Rule 16 sessions) other than settlement conferences.
                                       240 Dispositive Motions                       Developing and discussing strategy for or opposing motions for judgment on the pleadings and
                                                                                     motions for complete or partial summary judgment, preparing papers, reviewing opponent's
                                                                                     papers, defensive motions (e.g., motion to strike affidavit testimony, Rule 56(f) motion), and
                                                                                     preparing for and attending the hearing.
                                       250 Other Written Motions/Submissions         Developing, responding to, and arguing all motions other than dispositive (Task Code 240),
                                                                                     pleadings (Task Code 210), and discovery (Task Code 350), such as motions to consolidate, to
                                                                                     bifurcate, to remand, to stay, to compel arbitration, for MDL treatment and for change of venue.

                                       260 Class Action Certification and Notice     Proceedings unique to class action litigation and derivative suits such as class
                                                                                     certification and notice.
                                          Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 17 of 18



3. Discovery: Includes all work    310 Written Discovery                     Developing, responding to, objecting to, and negotiating interrogatories and requests to admit.
pertaining to discovery                                                      Includes mandatory meet‐and‐confer sessions. Also covers mandatory written disclosures as
according to court or agency                                                 under Rule 26(a) and negotiation and compilation of fact sheets.
rules.
                                   320 Document Production                   Developing, responding to, objecting to, and negotiating document requests, including the
                                                                             mandatory meet‐and‐confer sessions to resolve objections. Includes identifying documents for
                                                                             production, reviewing documents for privilege, effecting production, and preparing requested
                                                                             privilege lists. (While a general review of documents produced by other parties falls under this
                                                                             task, coding and entering produced documents into a database is Task Code 140 and reviewing
                                                                             documents primarily to understand the facts is Task Code 110.)


                                   330 Depositions                           All work concerning depositions, including determining the deponents and the timing and
                                                                             sequence of depositions, preparing deposition notices and subpoenas, communicating with
                                                                             opposing or other party's counsel on scheduling and logistics, planning for and preparing to take
                                                                             the depositions, discussing deposition strategy, preparing witnesses, reviewing documents for
                                                                             deposition preparation, attending depositions, and drafting any deposition summaries.


                                   340 Expert Discovery                      Same as Task Code 330, but for expert witnesses.

                                   350 Discovery Motions                     Developing, responding to, and arguing all motions that arise out of the discovery process.
                                                                             Includes the protective order process.

                                   360 Document Review                       Reviewing, analyzing and properly coding documents from review "batches" assigned by Co‐
                                                                             Lead and Co‐Liaison firms.

                                   390 Other Discovery                       Less frequently used forms of discovery, such as medical examinations and on‐site inspections.

4. Trials and Hearings:            405 Bellwether
Commences when Co‐Liaison                                                    PLCL approved identification, review, analysis and development of potential bellwether cases.
or Co‐Lead Counsel select and      410 Fact Witnesses                        Preparing for examination and cross‐examination of non‐expert witnesses.
determine case(s) should be
put forward as a potential         420 Expert Witnesses                      Preparing for examination and cross‐examination of expert witnesses.
bellwether trial. It does not
apply to any cases set for trial   430 Written Motions/Submissions           Developing, responding to and arguing written motions during preparation for trial and trial,
without the approval of Co‐                                                  such as motions in limine and motions to strike proposed evidence. Also includes developing
Liaison and Co‐Lead Counsel                                                  other written pre‐trial and trial filings, such as jury instructions, witness lists, proposed findings
such as a case advanced for                                                  of fact and conclusions of law, and trial briefs.
medical or other reasons
                                   440 Other Trial Preparation and Support   All other time spent in preparing for and supporting a trial, including developing overall trial
under California Code of Civil
                                                                             strategy, preparing opening and closing arguments, establishing an off‐site support office,
Procedure section 36, et seq.
                                                                             identifying documents for use at trial, preparing demonstrative materials, etc.
through motion for priority.
Once trial begins, lawyers who
                                   445 Trial Communications with Opposing    Communication with opposing counsel in preparation of trial.
appear in court presumptively
                                       Counsel
should bill their court time to
Task Code 450 Trial and
Hearing Attendance. Litigation
work outside the courtroom         450 Trial and Hearing Attendance          Appearing at trial, at hearings and at court‐mandated conferences, including the pre‐trial
during this phase (e.g.,                                                     conferences to prepare for trial. For scheduling conferences that are denominated as "Pre‐Trial
evenings,                                                                    Conferences", but not directed toward conduct of the trial, use Task Code 230.
weekends and the time of
                                        Case 3:16-md-02741-VC Document 161-1 Filed 02/22/17 Page 18 of 18



other attorneys and support      460 Post‐Trial Motions and Submissions        Developing, responding to and arguing all post‐verdict matters in the trial court, such as motions
personnel), should continue to                                                 for new trial or j.n.o.v., for stay pending appeal, bills of costs, and requests for attorney's fees.
be classified using other 400
Task Codes.                      470 Enforcement                               All work performed in enforcing and collecting judgments and asserting or addressing defenses
                                                                               thereto.
                                 475 Appeal                                    Covers all work on appeal or before a reviewing body.

                                 485 Appellate Motions and Submissions         Developing, responding to and arguing motions and other filings before a reviewing body, such
                                                                               as motions and other filings for stay pending appeal.

                                 495 Appellate Briefs                          Preparing and reviewing appellate briefs.

                                 498 Oral Argument at Litigation Proceedings   Preparing for and arguing issues at trials, hearings and other proceedings reserved for Co‐Lead
                                     and Trials                                and Co‐Liaison Counsel; and committee chairs and committee members asked to speak or
                                                                               address issues by Co‐Lead Counsel. Preparing for and arguing an appeal before a reviewing
                                                                               body.

5. Analysis and Strategizing     510 Analysis/Strategy                         Targeted for Co‐Liaison and/or Co‐Lead Counsel, committee chairs and committee members
                                                                               that are doing common benefit work at the highest level. The thinking, strategizing, and planning
                                                                               for a case, including discussions, writing, and meetings on case strategy. Also includes initial legal
                                                                               research for case assessment purposes and legal research for developing a basic case strategy.
                                                                               Most legal research will be under the primary task for which the research is conducted, such as
                                                                               research for a summary judgment motion (Task Code 240). Once concrete trial preparation
                                                                               begins, use Task Code 440 for trial strategy and planning.



                                 520 Communicating with Opposing Counsel       Targeted for Co‐Liaison and/or Co‐Lead Counsel, committee chairs and committee members
                                                                               that are doing common benefit work at the highest level. Once concrete trial preparation
                                                                               begins, use Task Code 445 for communicating with opposing counsel re trial strategy and
                                                                               planning.
6. Settlement/Non‐Binding        601 Settlement/Non‐Binding ADR                All activities directed specifically to settlement. Encompasses planning for and participating in
ADR                                                                            settlement discussions, conferences, and hearings and implementing a settlement. Covers
                                                                               pursuing and participating in mediation and other non‐binding Alternative Dispute Resolution
                                                                               (ADR) procedures. Also includes pre‐litigation demand letters and ensuing discussions.
